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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------X
 LAMARR GASKIN and EMPERESS
 MCDOWELL, on behalf of Plaintiffs
 and similarly situated individuals,

                                     Plaintiffs,                 REPORT & RECOMMENDATION
                                                                     22 CV 5648 (ENV)(LB)
         -against-

 BROOKLYN SUYA CORP.,

                                     Defendant.
 ----------------------------------------------------------X
 BLOOM, United States Magistrate Judge:

         Plaintiffs Lamarr Gaskin (“Gaskin”) and Empress McDowell (“McDowell”) bring this

 civil action against defendant Brooklyn Suya Corp. (“defendant”), alleging that defendant

 violated their rights under the Fair Labor Standards Act, 29 U.S.C. §§ 201 et. seq. (“FLSA”) and

 the New York Labor Law, Art. 6, §§ 190-99, and Art. 19, §§ 650-65 (collectively “NYLL”).

 Despite proper service of the summons and complaint, ECF No. 5, defendant failed to plead or

 otherwise defend this action. Plaintiffs now move for a default judgment against defendant

 pursuant to Rule 55(b)(2) of the Federal Rules of Civil Procedure. The Honorable Eric Vitaliano

 referred plaintiffs’ motion for a default judgment to me for a Report and Recommendation in

 accordance with 28 U.S.C. § 636(b).                For the reasons set forth below, it is respectfully

 recommended that plaintiffs’ motion should be granted in part and denied in part.

                                               BACKGROUND1

          After thoroughly reviewing plaintiffs’ complaint, the Court is left wondering: what were

 plaintiffs’ jobs and what is defendant’s business? Expecting answers to these questions is not too


 1
   The facts are drawn from the uncontested allegations in plaintiff’s complaint and are taken as true for the purpose
 of deciding this motion. See Transatlantic Marine Claims Agency, Inc. v. Ace Shipping Corp., 109 F. 3d 105, 108
 (2d Cir. 1997) (deeming well-pleaded allegations in complaint admitted on motion for a default judgment).

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 much to ask in an action to recover unpaid wages. Nowhere in plaintiffs’ complaint—or the

 instant motion—does it state what plaintiffs’ jobs were or what defendant’s business is. The

 closest we get to an answer is in paragraph 39 of the complaint, under the “collective action

 allegations,” where plaintiffs allege that the “collective class consists of . . . food service

 employees.” ECF No. 1 [“Compl.”] ¶ 39. Nonetheless, the Court considers what is presented.

         The complaint alleges that defendant “is a domestic business corporation, organized and

 existing under the laws of the State of New York, with a place of business located at 717

 Franklin Avenue, Brooklyn, NY, 11238.” Id. ¶ 7. Plaintiff Gaskin worked for defendant from

 March 1, 2022 through June 10, 2022. Id. ¶¶ 12-13. Throughout his employment, Gaskin worked

 six days per week, Monday through Saturday. Id. ¶ 14. Some of those days, Gaskin worked a

 12.5 hour “full shift” from 10:00 a.m. to 10:30 p.m., while on other days he worked a six hour

 “half-shift” from 10:30 a.m. to 4:30 p.m. Id. ¶¶ 15-17. Gaskin was paid at a flat rate of $130 per

 full shift and $80 per half shift. Id. ¶ 18.

         McDowell worked for defendant from February 14, 2022 through June 16, 2022. Id. ¶¶

 19-20. Throughout her employment, McDowell worked five days per week, between Monday

 and Saturday. Id. ¶ 21. Three of the five days McDowell worked a 12.5 hour “full shift” from

 10:00 a.m. to 10:30 p.m., and two of the five days she worked a six hour “half-shift” from 10:30

 a.m. to 4:30 p.m. Id. ¶¶ 22-24. As with Gaskin, defendant paid McDowell at a flat rate of $130

 per full shift and $80 per half shift. Id. ¶ 25.

         Plaintiffs allege that defendant failed to pay them the minimum wage and overtime

 compensation, id. ¶¶ 29-30, and to provide them with proper wage statements and notices. Id. ¶¶

 80, 85. Plaintiffs also allege that Rilwan Ojidan, defendant’s part-owner, unlawfully shared in

 their tip pool. Id. ¶ 69.



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                                         PROCEDURAL HISTORY

          Plaintiffs commenced this action against Brooklyn Suya Corp. on September 21, 2022.

 See Compl. Summons were returned executed on defendant on October 17, 2022. ECF No. 5.

 After defendant failed to respond to the complaint, plaintiffs requested and the Clerk of Court

 entered a certificate of default. ECF Nos. 6, 8. Plaintiffs now move for a default judgment.2 ECF

 No. 8. Plaintiffs’ motion includes plaintiffs’ counsel’s declaration, ECF No. 8-1, [“Spasojevich

 Decl.”], plaintiffs’ declarations, ECF No. 8-5 [“Gaskin Decl.”]; ECF No. 8-7 [“McDowell

 Decl.”], and plaintiffs’ memorandum of law, ECF No. 8 [“Pls’ Mem.”]. The motion was referred

 to me.

                                                  DISCUSSION

     I.       Legal Standard

          Rule 55 of the Federal Rules of Civil Procedure establishes the two-step process for a

 plaintiff to obtain a default judgment. First, “[w]hen a party against whom a judgment for

 affirmative relief is sought has failed to plead or otherwise defend, and that failure is shown by

 affidavit or otherwise, the clerk must enter the party’s default.” Fed. R. Civ. P. 55(a). Second,

 after a default has been entered against a defendant, and the defendant fails to appear or move to

 set aside the default under Rule 55(c), the Court may, on a plaintiff’s motion, enter a default

 judgment. Fed. R. Civ. P. 55(b)(2).

          In light of the Second Circuit’s “oft-stated preference for resolving disputes on the

 merits,” default judgments are “generally disfavored.” Enron Oil Corp. v. Diakuhara, 10 F.3d 90,

 95–96 (2d Cir. 1993). On a motion for default judgment, the Court “deems all the well-pleaded



 2
  Plaintiffs did not file proof that the motion was mailed to defendant’s last known address in accordance with Local
 Civil Rule 55.2(c). Order dated April 3, 2023 (internal quotation marks omitted). The Court extended plaintiffs’
 deadline to comply with the rules, and plaintiffs filed the required affidavit on April 19, 2023. ECF No. 10.

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 allegations in the pleadings to be admitted.” Transatlantic Marine Claims Agency, Inc. v. Ace

 Shipping Corp., 109 F.3d 105, 108 (2d Cir. 1997). In determining whether to issue a default

 judgment, the Court has the “responsibility to ensure that the factual allegations, accepted as

 true, provide a proper basis for liability and relief.” Rolls-Royce plc v. Rolls-Royce USA, Inc.,

 688 F. Supp. 2d 150, 153 (E.D.N.Y. 2010) (citing Au Bon Pain Corp. v. Artect, Inc., 653 F.2d

 61, 65 (2d Cir. 1981)). In making this determination, “the court is limited to the non-conclusory,

 factual allegations in the complaint.” Antoine v. Brooklyn Maids 26, Inc., 489 F. Supp. 3d 68, 78

 (E.D.N.Y. 2020) (quotation and citation omitted). The Court is not so restricted in determining

 damages, which may be calculated based on documentary evidence, affidavits, or evidence

 gleaned from a hearing on damages. See Transatlantic Marine Claims Agency, Inc., 109 F.3d at

 111.

     II.      Liability

           The FLSA provides that:

           [N]o employer shall employ any of his employees who in any workweek is
           engaged in commerce or in the production of goods for commerce, or is employed
           in an enterprise engaged in commerce or in the production of goods for
           commerce, for a workweek longer than forty hours unless such employee receives
           compensation for his employment in excess of the hours above specified at a rate
           not less than one and one-half times the regular rate at which he is employed.

 29 U.S.C. § 207(a)(1). “To succeed on a[] FLSA overtime claim, plaintiff must show that: (1) he

 was an employee who was eligible for overtime (not exempt from the Act’s overtime pay

 requirements); and (2) that he actually worked overtime hours for which he was not

 compensated.”3 Hosking v. New World Mortg., Inc., 602 F. Supp. 2d 441, 447 (E.D.N.Y. 2009)

 (citation omitted).


 3
   The FLSA contains several exemptions from its overtime requirement, but “the application of an exemption under
 the Fair Labor Standards Act is a matter of affirmative defense on which the employer has the burden of proof.”
 Corning Glass Works v. Brennan, 417 U.S. 188, 196-97 (1974).

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         “The FLSA specifically applies only to employees: (1) who are personally engaged in

 interstate commerce or in the production of goods for interstate commerce or (2) who are

 employed by an enterprise engaged in interstate commerce or in the production of goods for

 interstate commerce.” Newman v. W. Bar & Lounge, Inc., No. 20-CV-1141, 2021 WL 2401176,

 at *3 (E.D.N.Y. June 11, 2021) (citing 29 U.S.C. § 206(a), (b)). “The two categories are

 commonly referred to as ‘individual’ and ‘enterprise’ coverage, respectively.” Jacobs v. New

 York Foundling Hosp., 577 F.3d 93, 96 (2d Cir. 2009). For the purposes of enterprise coverage,

 a business is an “enterprise engaged in commerce or in the production of goods for commerce”

 when it (1) has employees who produce or work on goods that have moved in commerce, and (2)

 has gross annual sales of $500,000 or more. 29 U.S.C. § 203(s)(1). Plaintiffs’ complaint alleges

 that defendant is an “‘enterprise engaged in commerce’ within the meaning of the FLSA.”

 Compl. ¶ 8.

         In addition to the FLSA, plaintiffs also seek relief under the NYLL. With regard to state

 overtime wage claims, “the relevant portions of [the NYLL] do not diverge from the

 requirements of the FLSA,” and thus the Court may analyze plaintiff’s FLSA and NYLL claims

 in tandem. Hosking, 602 F. Supp. 2d at 447 (internal quotation marks, alteration, and citation

 omitted).

         Here, plaintiffs establish that defendant is an employer liable under the FLSA—albeit by

 the skin of their teeth due to their conclusory pleading.4 Plaintiffs allege that defendant is


 4
   It is not difficult to plausibly allege that a defendant is an enterprise engaged in commerce and therefore covered
 by the FLSA, yet plaintiffs nearly fail to do so. Courts have found that conclusory allegations regarding the
 defendant’s gross sales and relationship to interstate commerce are sufficient to establish enterprise coverage where
 the plaintiff alleges that the defendant is a restaurant. See Santos v. Cancun & Cancun Corp, No. 21-CV-192, 2022
 WL 1003812, at *4 (E.D.N.Y. Feb. 17, 2022) (finding the “somewhat conclusory” allegation that defendants
 “engaged in interstate commerce and/or the production of goods for commerce” is “sufficient to infer that the FLSA
 applies to Defendants via enterprise coverage” when combined with the allegation that defendant owned and
 operated a Mexican restaurant); Vilchis v. Seoul Sisters, Inc., No. 15-CV-6339, 2016 WL 6106478, at *3 (E.D.N.Y.
 Sept. 15, 2016), report and recommendation adopted, 2016 WL 6102342 (E.D.N.Y. Oct. 18, 2016) (“[C]ourts have

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 involved in interstate commerce, compl. ¶ 8, and had gross revenue exceeding $500,000, id. ¶

 44, that they were employed by defendant., id. ¶¶ 12-13, 19-20, and that they were not

 compensated for hours worked in excess of forty hours per week pursuant to the FLSA or the

 NYLL. Id. ¶¶ 14-18, 21-25, 47; see also New York Lab. Law § 651(5) (defining “employee”).

 These allegations, accepted as true, establish defendant’s liability under the FLSA and the

 NYLL. See 29 U.S.C. § 207(a)(1); N.Y. Comp. Codes R. & Regs. tit. 12, § 142-2.2.

     III.      Damages

            It is well established that a default is “not considered an admission of damages.” Cement

 & Concrete Workers Dist. Council Welfare Fund v. Metro Found. Contractors, Inc., 699 F.3d

 230, 234 (2d Cir. 2012) (quotation and citation omitted). A plaintiff has the burden to prove

 damages to the Court with a “reasonable certainty.” Credit Lyonnais Secs. (USA), Inc. v.

 Alcantra, 183 F.3d 151, 155 (2d Cir. 1999) (citing Transatlantic Marine Claims Agency, Inc.,

 109 F.3d at 111). “Detailed affidavits and other documentary evidence can suffice in lieu of an

 evidentiary hearing.” Gunawan v. Sake Sushi Rest., 897 F. Supp. 2d 76, 83 (E.D.N.Y. 2012)

 (citations omitted).

            “Ordinarily, an employee seeking to recover unpaid minimum wages or overtime under

 FLSA ‘has the burden of proving that he performed work for which he was not properly


 found [conclusory] allegations regarding a restaurant sufficient to satisfy the interstate commerce requirement.”)
 (emphasis added). The reason is straightforward: “it would defy logic to assume that none of the food, drinks, or
 materials served or used in [a] restaurant originated out of state.” Cabrera v. Canela, 412 F. Supp. 3d 167, 174
 (2019).

 Plaintiffs make the conclusory assertion that defendant “was, and continues to be, an ‘enterprise engaged in
 commerce’ within the meaning of the FLSA.” Compl. ¶ 8. But this simply tracks the language of the statute.
 Plaintiffs are ultimately saved by the description of their proposed collective action, which consists, in relevant part,
 of similarly situated “food service employees who worked for [d]efendant[]. . . .” Compl. ¶ 39. This description,
 combined with the allegation that plaintiffs received tips, allows the Court to infer that defendant is some kind of
 food related business for the purposes of establishing FLSA liability, and therefore that it engaged in interstate
 commerce. In the future, the Court will not accept such conclusory allegations from plaintiffs’ counsel, particularly
 when counsel could have easily alleged the nature of plaintiffs’ jobs and defendant’s business.


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 compensated.’” Moon v. Kwon, 248 F. Supp. 2d 201, 219 (S.D.N.Y. 2002) (quoting Anderson v.

 Mt. Clemens Pottery Co., 328 U.S. 680, 687 (1946)). “A plaintiff can meet this burden by

 relying on recollection alone . . . where the employer has defaulted . . . .” Santillan v. Henao,

 822 F. Supp. 2d 284, 294 (E.D.N.Y. 2011) (quotation, citation, and alteration omitted);

 Maldonado v. La Nueva Rampa, Inc., No. 10-CV-8195, 2012 WL 1669341, at *3 (S.D.N.Y.

 May 14, 2012) (“An affidavit that sets forth the number of hours worked is sufficient.”).

         Here, plaintiffs submit sworn declarations, ECF Nos. 8-5, 8-7, that they worked for

 defendant between Monday and Saturday. Gaskin Decl. ¶ 6; McDowell Decl. ¶ 6. Four of the six

 days Gaskin worked a full shift (10:00 a.m. to 10:30 p.m.), and two of the six days he worked a

 half shift (10:30 a.m. to 4:30 p.m.). Gaskin Decl. ¶¶ 7-8. McDowell worked three full shifts and

 two half shifts per week. McDowell Decl. ¶¶ 7-8. Both were paid $130 per full shift and $80 per

 half shift. Gaskin Decl. ¶ 9; McDowell Decl. ¶ 9. Accordingly, the Court relies on plaintiffs’

 declarations to determine damages.5

              A. Unpaid Wages and Overtime

         Plaintiffs allege that defendant failed to pay them the minimum wage and overtime under

 the FLSA and the NYLL. Compl. ¶¶ 47, 58. An employer is required to pay its employees at

 5
   There are inconsistencies in plaintiffs’ damages calculation. To calculate each plaintiffs’ baseline unpaid wages,
 counsel determined the total amount of unpaid compensation owed per week and multiplied that sum by the number
 of weeks each plaintiff was employed by defendant. The calculation for plaintiff McDowell annexed to plaintiffs’
 motion is based on twenty weeks of work, starting the week of January 31, 2022. ECF No. 8-8. However, plaintiff’s
 own affidavit states she began working for defendant two weeks later, on February 14, 2022. McDowell Decl. ¶ 3.
 The Court’s damages calculation therefore reflects McDowell’s declaration, which states she worked 18 weeks for
 defendant.

 Second, plaintiffs’ counsel estimates weekly damages by assuming Gaskin worked six days per work week and
 plaintiff McDowell five days per work week. Plaintiffs’ work week ran from Monday to Saturday. However,
 counsel did not apparently look at a calendar. Plaintiff Gaskin was hired on March 1, 2022—a Tuesday—meaning
 he could work, at most, five (not six) shifts that week. Similarly, plaintiff Gaskin’s last day of work was June 10,
 2022—a Friday, so he could work, at most, five shifts his final week. Plaintiff McDowell’s last day of employment
 was June 16, 2022, a Thursday, and therefore she could only work four (not five) shifts in her last week. The Court
 has calculated McDowell’s damages based on the inference that she worked three full shifts and one half-shift
 between June 13, 2022 and June 16, 2022. Similarly, the Court adjusted Gaskin’s damages calculation to reflect that
 he worked four full shifts and one half shift the weeks of March 1, 2022 and June 6, 2022.

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 least the minimum wage for every hour worked pursuant to the FLSA and NYLL. 29 U.S.C. §

 206; NYLL § 652(1). The FLSA further “mandates … [that] employees get time-and-a-half pay

 for ‘employment’ in excess of 40 hours per workweek.” Perry v. City of New York, 8 F.4th 502

 (2d Cir. 2023) (citing 29 U.S.C. § 207(a)(1)). Similarly, under New York law, employers must

 compensate employees at 1.5 times their regular rate for every hour of work performed after the

 first 40 hours. N.Y. Comp. Codes R. & Regs. tit. 12, § 142-2.2.

          “In order to calculate the unpaid wages due to plaintiff[s], [the Court] must first

 determine [their] regular hourly rate[s].” Cazarez v. Atl. Farm & Food Inc., No. 15-CV-2666,

 2017 WL 3701687, at *4 (E.D.N.Y. May 31, 2017), report and recommendation adopted, 2017

 WL 3701479 (E.D.N.Y. Aug. 25, 2017). “Under the FLSA, ‘[t]he regular hourly rate of pay of

 an employee is determined by dividing his total remuneration for employment (except statutory

 exclusions) in any workweek by the total number of hours actually worked by him in that

 workweek for which such compensation was paid.’” Sanchez v. Ms. Wine Shop Inc., 643 F.

 Supp. 3d 355, 375 (E.D.N.Y. 2022). The NYLL uses the same method for calculating the regular

 rate of pay.6 Id. (citing N.Y. Comp. Codes R. & Regs. tit. 12, § 142-2.16).

          “Under both the FLSA and NYLL, once the Court determines the actual number of hours

 worked per week and calculates the regular rate based on those hours, the regular rate is then

 compared to the statutorily-imposed minimum wage to determine whether the employee has

 been underpaid.” Villanueva v. 179 Third Ave. Rest Inc., 500 F. Supp. 3d 219, 235 (S.D.N.Y.

 2020), report and recommendation adopted, 2021 WL 2139441 (S.D.N.Y. May 26, 2021)

 (quotation and citation omitted). “In the event the regular rate falls below the applicable

 6
   While a NYLL wage order specifically governing the hospitality industry provides a different method for
 calculating the regular wage of hospitality industry employees, plaintiffs’ motion does not cite that wage order. N.Y.
 Comp. Codes R. & Regs. tit. 12, § 146-3.5. Plaintiffs’ conclusory pleadings do not establish to a reasonable certainty
 that they worked in the hospitality industry and are covered by the wage order for the purposes of calculating their
 damages.

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 minimum wage, an employee is entitled to [overtime] compensation at a rate of 1.5 times the

 applicable minimum wage.” Sanchez, 643 F. Supp. 3d at 377 (citation omitted). For the duration

 of plaintiffs’ employment, the federal minimum wage was $7.25. 29 U.S.C. § 206(a)(1)(C). In

 2022, the minimum wage for New York City businesses was $15.00 per hour. N.Y. Lab. Law §

 652(1)(a). The Court therefore calculates plaintiffs’ damages for unpaid wages under the New

 York Labor Law, which allows for a greater recovery. See Galeana v. Lemongrass on Broadway

 Corp., 120 F. Supp. 3d 306, 316–17 (S.D.N.Y. 2014) (“Under 29 U.S.C. § 218(a), plaintiffs may

 recover the minimum wage at the rate set by state or federal law, whichever is greater.”).

          Here, plaintiffs were paid $130 for each full shift of 12.5 hours and $80 for each half shift

 of six hours. Based on the number of shifts worked per week, the amount paid per shift, and the

 hours per shift, the Court calculates plaintiffs’ regular wage rates as follows:7

                                       Plaintiff Gaskin – Regular Rate

 Week of Employment         Shifts Per Week       Hours Worked Per Week          Weekly Pay       Regular Rate

 Week 1                     4 Full; 1 Half        56                             600              $10.71
 3/1/2022 – 3/6/2022
 Weeks 2-14                 4 Full; 2 Half        62                             680              $10.97
 3/7/2022 – 6/5/2022
 Week 15                    4 Full; 1 Half        56                             600              $10.71
 6/6/2022 – 6/10/2022

 7
  Regular Rate = ((Number of Weekly Full Shifts *130)+(Number of Weekly Half Shifts*80))/Number of Hours
 Worked

 Plaintiffs’ counsel calculates an hourly rate of $11.11 per hour for McDowell and $10.97 per hour for Gaskin.
 Spasojevich Decl. ¶¶ 22, 58. While generally correct, this calculation assumes that plaintiffs received consistent
 weekly payments throughout their employment. But plaintiffs were paid variable amounts depending on the type of
 shift worked and, as discussed in footnote five, plaintiffs could not have worked the same number of shifts each and
 every week of their employment. Their weekly pay, hours, and regular rate therefore varied, which the Court takes
 into account.

 The Court notes that it calculates plaintiffs’ regular rate by dividing their weekly pay by the total hours worked that
 week. See Hernandez v. Delta Deli Market Inc., No. 18-CV-00375, 2019 WL 643735, at *6 (E.D.N.Y. Feb. 12,
 2019), adopted by, Case No. 18-CV-00375, Electronic Order dated Mar. 4, 2019 (calculating plaintiff’s hourly rate
 by dividing his weekly pay by the total number of hours he worked that week); Pichardo v. El Mismo Rincon Latino
 Corp., No. 17-CV-7439, 2018 WL 4101844, at *4 (E.D.N.Y. Aug. 7, 2018), adopted by, 2018 WL 4100480
 (E.D.N.Y. Aug. 28, 2018) (same) (E.D.N.Y. Sept. 30, 2017) (same). This is the method plaintiffs used in their
 motion to calculate their damages, notwithstanding counsel’s own argument in his memorandum of law advancing a
 different method under FLSA.

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                                   Plaintiff McDowell – Regular Rate

 Week of Employment      Shifts Per Week     Hours Worked Per Week     Weekly Pay      Regular Rate

 Weeks 1-17              3 Full; 2 Half      49.50                     550             $11.11
 2/14/2022-6/12/2022
 Week 18                 3 Full; 1 Half      43.50                     470             $10.80
 6/13/2022 -6/16/2022
         As plaintiffs’ hourly compensation was less than New York’s minimum wage, the Court

 calculates plaintiffs’ damages using the state’s $15 per hour minimum wage as the regular rate

 and an overtime rate of $22.50 per hour. The Court calculates plaintiffs’ damages for unpaid

 wages and overtime as follows:

                                 Plaintiff Gaskin – Unpaid Wages (Per Week)

 Week of Employment     Hours     Actual Weekly Pay   Regular Wages Owed     Overtime Owed      Unpaid Wages

 Week 1                 56        $600                $600                   $360               $360
 3/1/2022 – 3/6/2022
 Weeks 2-14             62        $680                $600                   $495               $415
 3/7/2022 – 6/5/2022
 Week 15                56        $600                $600                   $360               $360
 6/6/2022 – 6/10/2022
 Total:                                                                                         $6115




                             Plaintiff McDowell – Unpaid Wages (Per Week)

 Week of Employment     Hours     Actual Weekly Pay   Regular Wages Owed     Overtime Owed      Unpaid Wages

 Weeks 1-17             49.50     $550                $600                   $213.75            $263.75
 2/14/2022-6/12/2022
 Week 18                43.50     $470                $600                   $208.75            $208.75
 6/13/2022 -6/16/2022
 Total:                                                                                         $4692.50


             B. Unpaid Tips

         Plaintiffs also allege that defendant violated § 196-d of the NYLL through unlawful tip

 pooling because Rilwan Ojidan, a part-owner of defendant, participated in the tip pool. Compl. ¶

 76; Pls’ Mem. at 12 (“Defendant, pursuant to its policies and practices, allowed part-owner,


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 RILWAN OJIDAN, to take shares of a tip pool meant for employees”). Plaintiffs seek recovery

 of their respective portions of customer tips that went to Ojidan. Spasojevich Decl. ¶¶ 41, 77;

 Section 196-d provides, in relevant part, that:

        No employer or his agent or an officer or agent of any corporation, or any other person
        shall demand or accept, directly or indirectly, any part of the gratuities, received by an
        employee, or retain any part of a gratuity or of any charge purported to be a gratuity for
        an employee. [. . . ] Nothing in this subdivision shall be construed as affecting . . . the
        sharing of tips by a waiter with a busboy or similar employee.
 New York Lab. Law § 196-d.
        “Section 196-d of the NYLL prohibits an employer or agents from demanding or

 accepting any part of the gratuities received by an employee.” Kuan v. Notoriety Grp. LLC, No.

 22-CV-1583, 2023 WL 3937317, at *8 (S.D.N.Y. May 22, 2023), report and recommendation

 adopted, 2023 WL 3936749 (S.D.N.Y. June 9, 2023). “[T]he plain language of Section 196–d

 does not grant any employee a right to participate in tip pools or to receive the proceeds

 therefrom but merely defines who is eligible to participate in tip pools—waiters, busboys, and

 other similar employees—and who is not—employers, their agents, and any other person.”

 Hoxhaj v. Michael Cetta, Inc., No. 21-CV-6486, 2023 WL 3455444, at *6 (S.D.N.Y. May 15,

 2023) (internal quotation and citation omitted). An employee with “meaningful authority or

 control over subordinates can no longer be considered similar to waiters and busboys within the

 meaning of section 196-d and, consequently, is not eligible to participate in a tip pool.”

 Barenboim v. Starbucks Corp., 21 N.Y.3d 460, 473 (2013). “Eligible employees must perform,

 or assist in performing, personal service to patrons at a level that is a principal and regular part of

 their duties and is not merely occasional or incidental.” N.Y. Comp. Codes R. & Regs. tit. 12, §

 146-2.14.




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        Therefore, to recover withheld tips under § 196-d, plaintiffs must not only demonstrate

 that defendant created a tip pool that includes ineligible individuals, but that the plaintiffs are,

 themselves, eligible to participate. That is, a plaintiff must allege that he is a waiter, busboy, or

 similar employee. See Barenboim, 21 N.Y.3d at 473. Absent allegations about a plaintiff’s job

 responsibilities, courts risk awarding withheld tips to individuals who are statutorily prohibited

 from sharing in tip pools, thereby effectuating the very wrong § 196-d is designed to remedy.

        Here, plaintiffs allege that Ojidan was included in the tip pool pursuant to defendant’s

 “policies and practices….” Compl ¶ 69. Ojidan “disciplined subordinates, had authority to hire

 and/or fire employees, and created work schedules.” Id. ¶ 72. Clearly, Ojidan was ineligible to

 participate in the tip pool. Barenboim, 21 N.Y.3d at 473 (holding an employee is no longer

 “similar” to “general wait staff” when he or she has “meaningful or significant authority or

 control over subordinates”).

        However, plaintiffs do not allege any facts demonstrating their own eligibility to

 participate in the tip pool. Plaintiffs’ statement that their collective action is comprised of

 “similarly situated . . . food service employees[,]” compl. ¶ 39, does not establish that “personal

 service to patrons [was] a principal or regular part” of plaintiffs’ employment. Barenboim, 21

 N.Y.3d at 473. Even if “food service employees” are categorically eligible to participate in a tip

 pool, plaintiffs’ assertion that they were “similarly situated” to such employees is a legal

 conclusion that merely restates the FLSA statutory language. Because plaintiffs fail to allege

 what they did as employees of defendant, the Court cannot infer that plaintiffs were waiters,

 busboys, or similar employees within the meaning of § 196-d. Therefore, the Court should deny

 plaintiffs’ motion seeking unpaid tips.




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            C. Liquidated Damages

        Plaintiffs seek liquidated damages for the entire period of their employment under the

 NYLL or FLSA. Pls’ Mem. at 16-17. Liquidated damages under the NYLL are calculated as

 100% of the total amount of underpayments due to the employee. New York Lab. Law § 663(1).

 “A plaintiff may recover liquidated damages for unpaid wages under either the FLSA or the

 NYLL, whichever provides for a greater recovery.” Sanchez, 643 F. Supp. 3d at 374;

 Chowdhury v. Hamza Express Food Corp., 666 Fed. App’x 59, 60–61 (2d Cir. 2016) (summary

 order). As discussed above, plaintiffs’ damages are greater under the NYLL than under the

 FLSA and therefore, plaintiff Gaskin should be awarded $6115.00 and plaintiff McDowell

 should be awarded $4692.50 in liquidated damages pursuant to the NYLL.

            D. Statutory Damages

                     i. Standing

        Plaintiffs allege that defendant did not provide wage notices or wage statements as

 required under the Wage Theft Prevention Act (“WTPA”), codified as NYLL § 195(1) and

 NYLL § 195(3). Gaskin Decl. ¶¶ 14-15; McDowell Decl. ¶¶ 14-15.

        Plaintiffs must demonstrate standing to pursue these claims in federal court. To show

 standing, plaintiffs must have “(1) suffered an injury in fact, (2) that is fairly traceable to the

 challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial

 decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) (citing Lujan v. Defenders Of

 Wildlife, 504 U.S. 555, 560-61 (1992)); see also Town of Chester, N.Y. v. Laroe Ests., Inc., 581

 U.S. 433, 439 (2017) (“[A] plaintiff must demonstrate standing for each claim he seeks to press

 and for each form of relief that is sought.”). An injury in fact consists of “an invasion of a legally

 protected interest which is (a) concrete and particularized and (b) actual or imminent, not

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 conjectural or hypothetical.” Lujan, 504 U.S. at 560 (internal quotation marks and citations

 omitted). Concrete harms include any “physical, monetary, or cognizable intangible harm

 traditionally recognized as providing a basis for a lawsuit in American courts.” TransUnion LLC

 v. Ramirez, 141 S. Ct. 2190, 2206 (2021).

        “Article III standing requires a concrete injury even in the context of a statutory

 violation.” Id. at 2205 (quotation and citation omitted). While the denial of statutorily required

 information to a plaintiff does not inherently constitute a concrete harm, “‘downstream

 consequences’ from failing to receive the required information” may satisfy the injury-in-fact

 requirement Id. at 2214 (citation omitted). In keeping with these principles, the Second Circuit

 recently dismissed a suit for statutory damages arising from a bank’s violation of New York

 statutes requiring the recording of mortgage satisfactions shortly after payment in full. Maddox

 v. Bank of New York Mellon Tr. Co., N.A., 19 F.4th 58, 61 (2d Cir. 2021). The Second Circuit

 held that plaintiffs failed to allege a concrete injury because the potential harms posed by the

 bank’s statutory violation never materialized, nor did the risk of harm result in a separate

 concrete injury. Id. at 65-66.

        In the wake of TransUnion and Maddox, “courts in the Second Circuit have reached

 different conclusions when weighing the sufficiency of a plaintiff's allegations to show Article

 III standing to pursue NYLL wage notice and wage statement claims in federal court.” Guthrie v.

 Rainbow Fencing Inc., No. 21-CV-5929, 2023 WL 2206568, at *5 (E.D.N.Y. Feb. 24, 2023)

 (collecting cases). Numerous courts have held “that a plaintiff lacks standing to recover for a

 wage notice or statement violation . . . when the plaintiff pleads nothing more than the statutory

 violation and a demand for damages.” Montalvo v. Paul Bar & Restaurant Corp., 22-CV-1423,

 2023 WL 5928361, at *3 (S.D.N.Y. Sept. 12, 2023); Sevilla v. House of Salads One LLC, No.



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 20-CV-6072, 2022 WL 954740, at *7 (E.D.N.Y. Mar. 30, 2022); Metcalf v. TransPerfect

 Translations Int'l, Inc., 632 F. Supp. 3d 319, 340 (S.D.N.Y. 2022) (dismissing wage statement

 claim where plaintiffs did not allege that they “read the wage statements or relied on them in any

 way, or that the wage statements caused Plaintiffs confusion or distress”); Sanchez, 643 F. Supp.

 3d at 373 (finding allegation that “Defendants failed to provide Plaintiff with wage statements,

 upon each payment of his wages, as required by NYLL § 195(3)” to be insufficient to show

 standing). These cases do not foreclose the possibility of litigating wage statement and notice

 claims in federal court, and several explicitly recognize that downstream consequences stemming

 from an employer’s statutory violations can confer standing. Sanchez, 643 F. Supp. 3d at 373

 n.5; Metcalf, 632 F. Supp. 3d at 341.

          Courts have held that a plaintiff has standing to bring wage statement and notice claims

 when the defendant’s failure to provide the statutorily-required wage information is linked to the

 defendant denying plaintiff his or her lawful wage.8 Metcalf v. TransPerfect Translations Int'l,

 Inc., No. 19-CV-10104, 2022 WL 19300779, at *4 (S.D.N.Y. Nov. 15, 2022), report and

 recommendation adopted, 2023 WL 2674743 (S.D.N.Y. Mar. 29, 2023) (finding that “specific

 allegations that the inaccurate wage notices and wage statements resulted in . . . being underpaid

 for nearly nine months” showed standing); Mateer v. Peloton Interactive, Inc., No. 22-CV-740,

 2022 WL 2751871, at *2 (S.D.N.Y. July 14, 2022) (allegation that defendant’s statutory

 violation “resulted in the underpayment of wages” demonstrates “a concrete harm sufficient for

 purposes of Article III standing”). In these cases, the statutory violation is not alleged to give rise

 solely to an informational injury, but rather is tied to the concrete monetary harm of

 underpayment. And as one court recently held, the denial of wage information also gives rise to


 8
  One Court recently held that allegations as to “downstream injuries . . . are not necessary to supply standing . . . .”
 Bueno v. Buzinover, No. 22-CV-2216, 2023 WL 2387113, at *2 (S.D.N.Y. Mar. 7, 2023).

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 the “distinct injury” that is the “[t]he delay in compensation that results when someone lacks the

 full information needed to advocate for appropriate wages. . . .” Lipstein v. 20X Hospitality

 LLC, No. 22-CV-4812, 2023 WL 6124048, at *10 (S.D.N.Y. Sept. 19, 2023).

        Recognizing that underpayment is unquestionably a concrete injury, some courts have

 held that the “real barrier to standing” for wage statement and notice claims is “causation—that

 is, whether [a plaintiff’s] alleged underpayment is ‘fairly traceable’ to the allegedly inaccurate

 wage statements.” Freeland v. Findlay's Tall Timbers Distribution Ctr., LLC, No. 22-CV-6415,

 2023 WL 4457911, at *13 (W.D.N.Y. July 11, 2023); see also Quieju v. La Jugueria Inc., No.

 23-CV-264, 2023 WL 3073518, at *2 (E.D.N.Y. Apr. 25, 2023) (“The injury that plaintiff

 suffered (i.e., defendants’ failure to properly pay him) is not an injury he sustained because of a

 lack of the required documents; it is an injury sustained because his employer violated its

 obligation to pay minimum wage, overtime, and spread-of-hours pay under other, express

 requirements of federal and state law.”). Under this reasoning, a plaintiff’s monetary harm from

 underpayment of wages “is better traced” to an employer’s violation of state and federal

 minimum wage and overtime law, and the only interest harmed by an employee being denied

 information contained in the wage notices and statements is his or her interest in bringing

 litigation, which is not cognizable. Jackson v. ProAmpac LLC, No. 22-CV-03120, 2023 WL

 6215324, at *4 (S.D.N.Y. Sept. 25, 2023) (citing Harty v. West Point Realty, Inc., 28 F.4th 435,

 444 (2d Cir. 2022)).

        Bottom line, the issue of standing for wage statement and notice claims is far from

 settled. Again, though thin, as plaintiffs plausibly allege that defendant’s failure to provide

 plaintiffs with wage information is linked to defendant’s failure to lawfully compensate

 plaintiffs, plaintiffs can pursue their § 195(1) and § 195(3) claims. Plaintiffs allege that defendant



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 did not provide wage statements and notices to “disguise the actual number of hours the

 Plaintiffs . . . worked and to avoid paying at the minimum wage rate and an overtime wage . . . .”

 Compl. ¶ 34. While this allegation—like most of plaintiffs’ complaint—would greatly benefit

 from additional detail, being paid less than what one is lawfully owed constitutes a concrete

 harm. And as discussed in Lipstein, the “delay in compensation” an underpaid employee

 experiences when denied wage information that if supplied as the law requires, may have

 prevented or shortened the period of underpayment, is an injury “distinct from any underpayment

 itself.” 2023 WL 6124048, at *10; see also Levy v. Endeavor Air Inc., 638 F. Supp. 3d 324, 329

 (E.D.N.Y. 2022) (recognizing that “the time value of money is real and concrete”).

         The connection between the unlawful payment of wages and the statutorily required wage

 information is illustrated by the legislative purpose behind the provisions: “wage notice and

 wage statement provisions are intended to serve as safeguards of employees’ broader interest in

 being paid the wages they earned.” Cuchimaque v. A. Ochoa Concrete Corp., No. 22-CV-6136,

 2023 WL 5152336, at *6 (E.D.N.Y. July 18, 2023), report and recommendation adopted, Order

 dated Aug. 23, 2023 (citation omitted). “[T]he WTPA was enacted to further protect an

 employee's concrete interest in being paid what he or she is owed under the NYLL.” Bueno,

 2023 WL 2387113, at * 3 (citing Imbarrato v. Banta Mgmt. Servs., Inc., No. 18-CV-5422, 2020

 WL 1330744, at *8 (S.D.N.Y. Mar. 20, 2020).9 While the legislature cannot create an Article III

 injury with the stroke of a pen, Maddox, 19 F.4th at 64, it can trace the link between a statutory

 requirement and a concrete harm that arises as a consequence of violating that statute. It is

 plausible that defendant refused to provide wage statements and notices to make it more difficult

 for plaintiffs to identify defendant’s unlawful conduct. This is sufficient because, “at the


 9
  Although the Court that decided Imbarrato recently walked back its holding, see Jackson, 2023 WL 6215324, the
 analysis of the statutory purpose of the WTPA remains instructive.

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 pleading stage, the fairly traceable standard is not equivalent to a requirement of tort causation

 and . . . for purposes of satisfying Article III's causation requirement, [courts] are concerned with

 something less than the concept of proximate cause.” Rothstein v. UBS AG, 708 F.3d 82, 92 (2d

 Cir. 2013) (internal quotation and citation omitted) (emphasis in original). The Court therefore

 finds plaintiffs have alleged a sufficient casual nexus between defendant’s statutory violation and

 a concrete injury.

        The cases relied on by other courts holding employees lack standing to bring wage

 statement and notice claims do not compel a contrary holding. In Harty, the Second Circuit held

 a wheelchair-bound tester denied legally-required information by defendant about the

 accessibility of its hotel did not suffer a concrete injury. 28 F.4th at 444. As the tester never

 visited or intended to visit the hotel, his only connection to the information at issue was the

 lawsuit. Id. Here, by contrast, plaintiffs’ wage information was relevant to them because they

 were employees denied their lawful pay by defendant. Plaintiffs are not relying on “[a]n asserted

 informational injury that causes no adverse effects[,]” TransUnion LLC, 141 S. Ct. at 2214

 (quotation omitted), nor are plaintiffs arguing that defendant’s statutory violations injure them

 through a “nebulous risk of future harm. . . .” Maddox, 19 F.4th at 65; see also Cuchimaque,

 2023 WL 5152336, at *6. (“The wage statement and notice violations alleged here are of a

 different class of harm than those alleged in TransUnion and Maddox.”). Rather, plaintiffs

 allege that defendant did not provide wage information required by the WTPA in order to deny

 them their lawful wages—harms plaintiffs in fact experienced. Plaintiffs therefore have standing

 to assert wage statement and notice claims.




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                   ii. Wage Notices

        “The NYLL requires employers to provide annual wage notices to employees hired after

 April 9, 2011 . . . .” Chichinadze v. BG Bar Inc., 517 F. Supp. 3d 240, 259 (S.D.N.Y. 2021)

 (citing New York Lab. Law § 195(1)). “After February 27, 2015, employees are entitled to

 damages of $50.00 per work day, up to $5,000” in statutory damages for violations of this

 provision. Reyes v. Art Tek Design, Ltd., No. 16-CV-5168, 2018 WL 614980, at *8 (E.D.N.Y.

 Jan. 11, 2018), adopted by, 2018 WL 611733 (E.D.N.Y. Jan. 29, 2018) (citations omitted); see

 also New York Lab. Law § 198(1-b) (providing a plaintiff may recover “damages of fifty dollars

 for each work day that the violations occurred or continue to occur”) (emphasis added). Here,

 plaintiffs allege that defendant never provided them any wage notice for the duration of their

 employment. Gaskin Decl. ¶¶ 14-15; McDowell Decl. ¶¶ 14-15. For the reasons discussed in

 footnote five, McDowell worked, at most, four days her last week and five days per week for the

 other seventeen weeks she was employed by defendant. Plaintiff Gaskin worked at most five

 days per week his first and last week, and six days per week for the other thirteen weeks he was

 employed defendant.

        Accordingly, the Court should award plaintiff McDowell $4450 ($50 x 89 work days)

 and plaintiff Gaskin $4400 ($50 x 88 work days) against defendant. See Ramos v. Greenwich

 Catering Corp., No. 18-CV-04790, 2020 WL 619928, at *9 (S.D.N.Y. Jan. 15, 2020), report and

 recommendation adopted, 2020 WL 615030 (S.D.N.Y. Feb. 7, 2020) (calculating wage notice

 and statement damages by number of days worked per week).

                  iii. Wage Statements

        New York Labor Law § 195(3) provides that “[e]very employer shall . . . furnish each

 employee with a statement with every payment of wages[.]” The wage statement must list



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 “information about the rate and basis of pay, any allowances and deductions, and the employer’s

 identity and contact details.” Rojas v. Splendor Landscape Designs Ltd., 268 F. Supp. 3d 405,

 412 (E.D.N.Y. 2017) (citation omitted). An employee is entitled to $250 per work day that the

 violation occurred, up to a maximum of $5,000. See Copper v. Cavalry Staffing, LLC, 132 F.

 Supp. 3d 460, 467 (E.D.N.Y. 2015) (citing NYLL § 198(1-d)). Plaintiff Gaskin alleges he did not

 receive any wage statements for the 15 weeks he was employed by defendant, and plaintiff

 McDowell alleges that she did not receive any wage statements for the 18 weeks she was

 employed by defendant. Compl. ¶¶ 85-86; Gaskin Decl. ¶¶ 14-15; McDowell Decl. ¶¶ 14-15.

 Accordingly, the Court should award plaintiff Gaskin and plaintiff McDowell the statutory

 maximum of $5,000.00 each against defendant.

            E. Pre-Judgment Interest

        Plaintiffs request pre-judgment interest pursuant to the NYLL. Pls’ Mem. at 17. The

 “NYLL permits the award of both liquidated damages and pre-judgment interest.” Fermin v. Las

 Delicias Peruanas Restaurants, Inc, 93 F. Supp. 3d 19, 48 (E.D.N.Y. 2015) (citation omitted). To

 avoid double recovery, pre-judgment interest is awarded only on the compensatory damages

 awarded under the NYLL, not on the liquidated damages. Id. at 49 (citing cases). Accordingly,

 plaintiffs are entitled to pre-judgment interest on their unpaid wages at a rate of 9% per year.

 N.Y. C.P.L.R. § 5004. Where, as here, unpaid wages were “incurred at various times, interest

 shall be computed upon each item from the date it was incurred or upon all of the damages from

 a single reasonable intermediate date.” N.Y. C.P.L.R. § 5001(b). Courts have discretion in

 choosing a reasonable date from which to calculate pre-judgment interest. Fermin, 93 F. Supp.

 3d at 49. Here, it is recommended that prejudgment interest should be awarded to plaintiff




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 Gaskin from April 20, 2022 until judgment is entered and to plaintiff McDowell from April 16,

 2022 until judgment is entered.10

         Interest is determined by multiplying the state law damages by the interest rate (9%) and

 the number of years that elapsed between the intermediate date and the date the judgment is

 entered. See Yu Y. Ho v. Sim Enterprises, Inc., No. 11-CV-2855, 2014 WL 1998237, at **19-20

 (S.D.N.Y. May 14, 2014) (explaining prejudgment interest calculation). Here, the daily interest

 rate for plaintiff Gaskin is $1.51 and for plaintiff McDowell is $1.16.11 Accordingly, it is

 respectfully recommended that the Court should calculate the interest award to plaintiffs by

 multiplying the daily prejudgment interest rate, $1.51 for plaintiff Gaskin and $1.16 for plaintiff

 McDowell, by the number of days between April 20, 2022 and April 15, 2022, respectively, and

 the date judgment is entered.

              F. Post-Judgment Interest

         Plaintiffs request post-judgment interest. “[P]ost-judgment interest is mandatory in any

 civil case where money damages are recovered.” Fermin, 93 F. Supp. 3d at 53 (quotation and

 citation omitted). “[I]nterest shall be calculated from the date of the entry of judgment at [the

 federal] rate equal to the weekly average 1–year constant maturity Treasury yield . . . for the

 calendar week preceding the date of judgment.” 28 U.S.C. § 1961(a); see Herrera v. Tri-State

 Kitchen & Bath, Inc., No. 14-CV-1695, 2015 WL 1529653, at *13 (E.D.N.Y. Mar. 31, 2015)

 (awarding post-judgment interest in a FLSA and NYLL case). Accordingly, I recommend that

 plaintiffs should be awarded post-judgment interest at the default federal statutory rate.




 10
    April 20, 2022 and April 16, 2022 are the midpoints of plaintiff Gaskin’s and plaintiff McDowell’s respective
 employments.
 11
    The daily interest rate is calculated by multiplying the amount of unpaid wages by the per annum interest rate and
 dividing by the number of days in a year. As to Gaskin: $6115 x .09 = $550.35. $550.35/ 365 days = $1.51. As to
 McDowell: 4692.50 x .09 = 442.33. 442.33/365 = $1.16.

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            G. Increase in Judgment
        Plaintiffs seek an automatic fifteen percent increase in the amount of damages awarded

 under the New York Labor Law for damages that remain unpaid after ninety days following

 issuance of judgment. Pls’ Mem at 19. “New York Labor Law provides that ‘[a]ny judgment or

 court order awarding remedies under this section shall provide that if any amounts remain unpaid

 upon the expiration of ninety days following issuance of judgment, or ninety days after

 expiration of the time to appeal and no appeal is then pending, whichever is later, the total

 amount of judgment shall automatically increase by fifteen percent.’” Sanchez, 643 F. Supp. 3d

 at 381 n.12 (quoting NYLL § 198(4)). The Court therefore recommends that plaintiffs be

 awarded “a fifteen-percent increase in damages under the NYLL, not including post-judgment

 interest, for any amounts that are not paid within ninety days of judgment or the expiration of

 time to appeal.” Id.; see also Rodriguez v. Solares Corp., No. 16-CV-3922, 2018 WL 7252949,

 at *12 (E.D.N.Y. Aug. 14, 2018), report and recommendation adopted, 2019 WL 486883

 (E.D.N.Y. Feb. 7, 2019) (awarding automatic 15% increase in damages awarded under the

 NYLL to the extent those amounts remain unpaid, if no appeal is pending).

            H. Attorney’s Fees and Costs
        The FLSA and the NYLL both allow for an award of “reasonable” attorney’s fees. See 29

 U.S.C. §216(b); N.Y. Lab. Law § 663(1). “Requests for attorney’s fees in this Circuit must be

 accompanied by contemporaneous time records that show for each attorney, the date, the hours

 expended, and the nature of the work done.” Juarez v. Precision Apparel, Inc., No. 12 CV 2349

 (ARR) (VMS), 2013 WL 5210142, at *13 (E.D.N.Y. Aug. 21, 2013) (adopting Report and

 Recommendation) (internal quotation omitted).




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         Here, plaintiffs’ counsel requests thirty days from entry of any judgment against

 defendant to file a motion for attorney’s fees and costs. Pls. Mem. at 21. The Court recommends

 granting this request.12

                                                CONCLUSION

         It is respectfully recommended that plaintiffs’ motion for a default judgment should be

 granted in part and denied in part. The Court should award plaintiff Gaskin a total of $21,630

 (comprised of $6,115 in unpaid overtime wages, $6,115 in liquidated damages, and $9,400 in

 statutory damages). The Court should also award plaintiff Gaskin pre-judgment interest at a rate

 of $1.51 per day between April 20, 2022 through the entry of judgment. The Court should award

 plaintiff McDowell a total of $18,835 (comprised of $4,692.50 in unpaid wages, $4,692.50 in

 liquidated damages, and $9,450 in statutory damages). The Court should also award plaintiff

 McDowell pre-judgment interest at a rate of $1.16 per day between April 16, 2022 through the

 entry of judgment. Plaintiffs’ request for unpaid tips should be denied.

         Furthermore, the Court should award plaintiffs post-judgment interest at the default

 federal statutory rate on all sums awarded from the date the Clerk of the Court enters judgment

 until the date of payment. Plaintiffs’ counsel should be permitted to file a motion for attorney’s

 fees and costs within thirty days from the date the Court rules on this Report and

 Recommendation. Plaintiffs are hereby ordered to serve a copy of this Report upon defendant at

 its last known addresses and to file proof of service with the Court forthwith.




 12
   Counsel’s request for fees should be tempered by this Report’s generosity regarding the conclusory pleadings. The
 request for attorney’s fees must be supported by contemporaneous time records that describe with specificity the
 nature of the work done, the hours expended, the attorney’s hourly rate, and the dates on which the work was
 performed for each attorney seeking fees. Fermin, 93 F. Supp. 3d 19, 51–52. Furthermore, a request for costs must
 be supported by adequate, itemized documentation. Kindle v. Dejana, 308 F. Supp. 3d 698, 705 (E.D.N.Y. 2018).

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             FILING OF OBJECTIONS TO REPORT AND RECOMMENDATION

           Pursuant to 28 U.S.C. § 636(b)(1) and Rule 72(b) of the Federal Rules of Civil

 Procedure, the parties shall have fourteen days from service of this Report to file written

 objections. See Fed. R. Civ. P. 6. Such objections shall be filed with the Clerk of the Court. Any

 request for an extension of time to file objections must be made within the fourteen-day period.

 Failure to file a timely objection to this Report generally waives any further judicial review.

 Marcella v. Capital Dist. Physicians’ Health Plan, Inc., 293 F.3d 42 (2d Cir. 2002); Small v.

 Sec’y of Health and Human Servs., 892 F.2d 15 (2d Cir. 1989); see Thomas v. Arn, 474 U.S. 140

 (1985).

 SO ORDERED.

                                                                           /S/
                                                             LOIS BLOOM
                                                             United States Magistrate Judge

 Dated: October 26, 2023
        Brooklyn, New York




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